                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI

SHANE COOK, et al.,                                  )
    Plaintiffs,                                      )
                                                     )       Case: 4:21-cv-930
v.                                                   )
                                                     )
FAMILY MOTORS, LLC, et al.,                          )
     Defendants.                                     )

     PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT AGAINST DEFENDANT
     BRENDA YOAKUM-KRIZ UNDER COUNTII AND COUNT III OF PLAINTIFFS’
                      SECOND AMENDED COMPLAINT

       Plaintiffs, Shane Cook and Karla Caro (collectively “Plaintiffs”), pursuant to F. R. Civ. P.

56, move this Court to enter summary judgment against Defendant Brenda Yoakum-Kriz

(“Defendant”) under Count II and Count III of their Complaint, stating the following in support:

       Defendant has objected to all discovery requests by Plaintiffs on the grounds that all

information sought is privileged. Plaintiffs have no intention of contesting these objections, as

the result is that there is no material dispute as to any fact because Defendant cannot introduce

any evidence to contradict any facts put forward by Plaintiffs. That does not preclude Defendant

from arguing any legal defense she may have, but the undisputed material facts demonstrate that

Plaintiffs are entitled to judgment as a matter of law, so judgment should be entered in their favor

and against Defendant.

       Plaintiffs incorporate by reference here by reference their Statement of Undisputed

Material Facts and Suggestions in Support, which are concurrently filed herewith.

       Plaintiffs recognize that the one set of facts Defendant may be entitled to discovery on

will be Plaintiffs’ claims for attorneys fees and requests that the Court grant Defendant 15 days

to conduct discovery on this issue.




          Case 4:21-cv-00930-RK Document 44 Filed 05/20/22 Page 1 of 3
       WHEREFORE, for the reasons stated above, Plaintiffs pray the Court enter an order

granting Defendant Brenda Yoakum-Kriz a period of not more than 14 days to conduct discovery

on the issue of damages, an order providing Plaintiffs and Defendant Brenda Yoakum-Kriz an

additional 30 days after the close of the limited discovery to file supplementary arguments or

evidence on the issue of damages, and then enter summary judgment in Plaintiffs favor and

against Defendant Brenda Yoakum-Kriz on Counts II for actual damages as determined by the

Court, on Count III for actual damages, attorneys’ fees, and punitive damages in amounts set by

the Court, and for such further relief as the Court deems just and necessary.



                                                     Respectfully submitted,
Dated: May 20, 2022
                                                     THE WILLISTON LAW FIRM, LLC
                                                     By: Keith N. Williston
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                                                     WillistonKeith@yahoo.com

                                                     Attorney for Plaintiffs




                                CERTIFICATE OF SERVICE

        The undersigned counsel hereby certifies that on May 20, 2022, a true and accurate copy
of the foregoing filed with the court’s electronic filing system, which will give notice to all
attorneys of record. Plaintiff further mailed a copy via regular US Mail to Defendants Family
Motors, LLC, Derrick Richardson and Antonio Harbin at 8735 US Hwy 40, Independence MO
64129.

                                                 2

          Case 4:21-cv-00930-RK Document 44 Filed 05/20/22 Page 2 of 3
                           /s/ Keith N. Williston
                           Attorney for Plaintiffs




                              3

Case 4:21-cv-00930-RK Document 44 Filed 05/20/22 Page 3 of 3
